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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

MILTON DWAYNE GOBERT,                                 §
TDCJ No. 999554,                                      §
                                                      §
                         Petitioner,                  §
                                                      §              Civil No. 1:15-CV-42-RP
v.                                                    §
                                                      §           * DEATH PENALTY CASE *
BOBBY LUMPKIN, Director,                              §
Texas Department of Criminal Justice,                 §
Correctional Institutions Division,                   §
                                                      §
                         Respondent.                  §

                                                  ORDER

        Before the Court is Petitioner’s Motion for Relief from Order Substituting Counsel (ECF No. 81).

Citing Federal Rule of Civil Procedure 60(b), Petitioner seeks relief from this Court’s May 3, 2022 Order

(ECF No. 80) granting former counsels’ motion to withdraw and appointing attorney Tivon Schardl from

the Capital Habeas Unit as replacement counsel. According to Petitioner, Mr. Schardl’s appointment was

obtained through the fraud, misrepresentation, and misconduct of former counsel, and he requests that the

Court modify the order to: (1) omit all references to previous counsels’ performance, and (2) provide that

Mr. Schardl’s appointment would not be effective until October 2022. After careful consideration, the

Court has determined Petitioner is not entitled to the relief requested.

        Accordingly, it is hereby ORDERED that the Motion for Relief from Order Substituting Counsel

filed May 11, 2022 (ECF No. 81) is DENIED.

        To the extent Petitioner’s motion seeks an extension of any briefing schedule on appeal, it is

further ORDERED that the request is DISMISSED WITHOUT PREJUDICE to refiling a similar

motion with the Fifth Circuit Court of Appeals.

        SIGNED this the 24th day of May, 2022.



                                                           ROBERT PITMAN
                                                           UNITED STATES DISTRICT JUDGE
